-6&$1' 5HY                      Case 4:23-cv-06003-DMR Document 1-1 Filed 11/20/23 Page 1 of 2
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 Securities and Exchange Commission                                                                                          Payward, Inc. and Payward Ventures, Inc.
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      F      $WWRUQH\V(Firm Name, Address, and Telephone Number)                                                               $WWRUQH\V(If Known)
 Daniel Blau                                                                                                                 Brian Klein, Waymaker LLP, 515 S. Flower Street, Suite 3500, Los Angeles, CA 90071, 424-652-7814
 Securities and Exchange Commission, 444 S. Flower Street, Suite 900, Los Angeles CA 90071
 323-965-3998                                                                                                                Matthew Solomon, Cleary Gottlieb Steen & Hamilton LLP, 2112 Pennsylvania Avenue, NW, Washington, DC 20037, 202-974-1680


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                         Section 5 of Exchange Act [15 U.S.C. § 78e], Section 15(a) of Exchange Act [15 U.S.C. § 78o(a)] and Section 17A(b) of Exchange Act [15 U.S.C. § 78q-1(b)]
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         QXPEHUVDQGWKHFRUUHVSRQGLQJMXGJHQDPHVIRUVXFKFDVHV
   ,;    'LYLVLRQDO$VVLJQPHQW,IWKH1DWXUHRI6XLWLVXQGHU 3URSHUW\ 5LJKWV RU3ULVRQHU3HWLWLRQVRUWKH PDWWHULVD 6HFXULWLHV&ODVV$FWLRQOHDYH WKLV
          VHFWLRQ EODQN)RUDOORWKHUFDVHVLGHQWLI\WKHGLYLVLRQDO YHQXHDFFRUGLQJWR&LYLO/RFDO5XOH³WKHFRXQW\ LQZKLFKDVXEVWDQWLDOSDUWRI WKH
          HYHQWVRU RPLVVLRQVZKLFKJLYHULVHWR WKH FODLP RFFXUUHG RULQZKLFKDVXEVWDQWLDOSDUWRI WKH SURSHUW\WKDWLVWKHVXEMHFWRI WKH DFWLRQLVVLWXDWHG´
   'DWHDQG$WWRUQH\6LJQDWXUH 'DWHDQGVLJQWKHFLYLOFRYHUVKHHW
